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                  Exhibit 5
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                                                                                                                        US008275413B1


(12) United States Patent                                                                       (10) Patent No.:                      US 8,275,413 B1
       Fraden et al.                                                                            (45) Date of Patent:                               Sep. 25, 2012

(54)    WIRELESS COMMUNICATION DEVICE                                                                       3.   R ck    338            ............................   374,131
                                                                                                     - WW                          Ohnston
        WITH INTEGRATED ELECTROMAGNETC                                                              6,934,515 B2 *       8/2005 Wallach ..................... 455/67.13
        RADATION SENSORS                                                                            6,992,580 B2 *       1/2006 Kotzin et al. ............ 340/539.11
                                                                                                    7,545,269 B2 *       6/2009 Craig et al. ...              . . 340,539.26
(75) Inventors: Jacob Fraden, San Diego, CA (US);                                                   7,576,785 B2 * 8/2009 Jung et al. .................. 348,227.1
                                                                                                    7,611,278 B2 11/2009 Hollander et al.
                David A. Pintsov, San Diego, CA (US)                                                7,947,222 B2 5/2011 Bae et al.
                                                                                                  7,960,700 B2 * 6/2011 Craig et al. .............. 250,370.01
(73) Assignee: Fraden Corp., San Diego, CA (US)                                               2005/0272468 A1* 12/2005 Tsai et al. .................. 455,556.1
                                                                                              2007/0129.105 A1           6, 2007 Shen
(*) Notice:                  Subject to any disclaimer, the term of this                      2007/0282218 A1            12/2007 Yarden
                patent is extended or adjusted under 35                                       2010O125438 Al 5, 2010 Audet
                U.S.C. 154(b) by 0 days.                                                     * cited by examiner
(21) Appl. No.: 13/303,054                                                                   Primary Examiner — Sonny Trinh
(22) Filed:                  Nov. 22, 2011                                                   (57)                         ABSTRACT
                                                        O        O                           A hand-held mobile communication device, Such as Smart
            Related U.S. Application Data                                                    telephone, incorporating sensors and signal conditioning
 60) Provisional application No. 61/627.070, filed on Sep.                                   modules for measuring signals from external sources of elec
(60) ya applicauon No                   U/U, Illed on Sep                                    tromagnetic radiation (EMR) in the low, radio, ultraviolet,
             s                                                                               and infrared spectral ranges. These include the detector for
(51) Int. Cl                                                                                 receiving and monitoring electromagnetic fields originating
     H04M I/00                                    (2006.01)                                  from various external sources of radiation that pose potential
     H04B I/I6                                    (2006.015                                  health hazards or may interfere with various electronic
(52) U.S. Cl                                                           455/556.1455/344      devices. The mobile phone equipped with Such sensors could
58      Fi ld f c - - - - - ificati- - - - - -s - - - - - - - h- - -            45 5/556.1   alternate between communication and monitoring functions.
(58) Field of Classifica ". Stars 5501.671 1423 344                                          Other integrated EMR sensors are a photodiode for the ultra
        S             lication file f                        l         • us hhi s 1 - 9      violet detection to monitor the user's Sun exposure and a
            ee application file for complete search history.                                 thermopile for non-contact measurement of temperature of
(56)                     References Cited                                                    humans or inanimate objects. This infrared sensor in combi
                                                                                             nation with a photographic digital camera and a pattern rec
                 U.S. PATENT DOCUMENTS                                                       ognition signal processing allows measuring temperatures at
       3,971,943 A     7, 1976 Jeunehomme
                                                                                             specific locations and from optimal distances to the Surface of
       4,854,730 A     8, 1989 Fraden                                                        the object to enhance accuracy of non-contact temperature
       4,986,672 A                  1/1991 Beynon                                            measurementS.
       5,592,148 A                  1/1997 Morales
       6,594,494 B1*                7/2003 Kakehi ......................... 455,437                              17 Claims, 6 Drawing Sheets
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                        Narayaraaaaaaaaan           aZ
               NN
                &S

               12                   Fig. 2               14
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                              a   Y    same
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                                                     US 8,275,413 B1
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6,906,663, issued to Johnston incorporated here as a refer                DETAILED      DESCRIPTION        OF PREFERRED
ence, that teaches an antenna, power meter, signal equalizer                              EMBODIMENTS
and other components.
   Therefore, a goal of the present invention is to combine           A mobile communication device. Such as cellular tele
functionalities of the built-in digital photo camera, a non 5 phone having a digital imaging photo camera, among other
contact thermometer and a pattern recognition algorithm for components incorporates a non-contact temperature module.
guiding the user for a proper positioning of the mobile com The module includes the infrared (IR) temperature detector,
munication device, thus insuring the optimal conditions for optical elements, reference temperature sensor and other rel
obtaining a reliable temperature measurement.                   10
                                                                   evant components known in art.
   Another goal of this invention is to utilize the wireless          The central problem in non-contact temperature measure
capabilities of a mobile communication device for detecting ment is finding a location on the Surface of the Subject or
and measuring the EMF signals for the purpose of assessing object that is best suited for such measurement that is free
levels of ambient radiation.                                       from various obstructions and occlusions such as clothing,
   And another goal of this invention is to integrate a UV 15 hair, decorations, etc. Furthermore, due to limitations of the
detector with a mobile communication device. Further goals optical components, the non-contact IR sensor should be
of the invention will be apparent from the foregoing descrip positioned within a specific range of distances from the Sur
tion of preferred embodiments.                                     face of the object where temperatures are measured. On the
                                                                   human face, these locations include the area of the temple
            2. SUMMARY OF THE INVENTION                            within about 1 cm of the corner of the eye and the area of the
                                                                   forehead above the root of the nose between the eyes. The
   A mobile communication device incorporates one or more optimal range of distances between the Surface of the skin and
sensing means for receiving and processing the EMF signals the IR sensor is between 2 and 10 cm. The present invention
of different spectral ranges. Different spectral ranges require utilizes the imaging capabilities of a camera-equipped com
different types of sensors. For detecting the ambient electro 25 munication device to assist in accurate positioning of the
magnetic radiation pollution in a low and radio frequency sensor embedded into the communication device. The inven
ranges an antenna is employed, preferably the same antenna tion provides the device's operator with a sound and visual
that is used for a mobile communication. For the UV range a indicators signaling by way offeedback the optimal position
special photo-diode is used, while for a non-contact tempera of the embedded sensor for taking temperature measurement.
ture measurement the electro-magnetic radiation is detected 30 This feedback is suitable for both taking the operator's own
by a thermopile. When the electro-magnetic radiation pollu temperature as well as taking the temperature of another
tion reaches a predetermined threshold, an alarm is generated person. FIG. 1 illustrates the back 3 and front 2 sides of the
to alert the user.                                                 mobile communication device 1. The lens 6 of the digital
   A digital camera of the mobile phone continuously obtains photographic camera is positioned alongside with the lens 7
images of the external object, Such as a human face, processes 35 of an IR sensor. The phone 1 contains a display 4 and either
the images for identifying facial landmarks and guides the hard or soft keys 5 positioned on the monitor 12. The speaker
user towards the optimal aim of the thermal radiation sensor 11 can provide an audio feedback either by spoken voice or
at the pre-identified area of the face in relation to the land tone. The antenna 30 (shown by a dotted line) typically is
marks. The obtained thermal signal is processed by the micro positioned inside the housing but in Some cases may protrude
processor for computation, display and transmission oftem 40 outwardly (not shown).
perature data.                                                        FIG. 9 is a block diagram of the wireless communication
                                                                   device that incorporates the present invention. Power supply
         3. BRIEF DESCRIPTION OF DRAWINGS                          27 is a source of energy for all components of the device. The
                                                                   microprocessor 26 (computational means that may include
   FIG. 1 shows a cell phone back side (left) and front side 45 memory) controls all external components and performs nec
(right) having an IR lens and video lens.                          essary computation and image pattern recognition according
   FIG. 2 illustrates a cross-sectional view of the cell phone to the algorithms described below. IR sensor 15 is appended
with an IR and video sensors.                                      with a signal conditioning circuit 25 whose purpose is to
   FIG. 3 shows a cross-sectional view of the IR sensor.           match the sensor's 15 output signal format with the input
   FIG. 4 shows three photographic images for three distances 50 format of the microprocessor 26. Imaging sensor 16 is part of
from the subject: too far (A), too close (B) and normal (C).       the imaging circuit. Monitor 12 displays visual information,
   FIG. 5 illustrates positioning of IR sensor field of view in while the speaker 11 provides audible feedback. The wireless
relationship to the subject’s eye.                                 communication module 29 that generally incorporates radio
   FIG. 6. shows part of a building with the field of view of an transmitter/receiver along with the antenna 30 performs wire
IR sensor.                                                      55 less communication. Other essential components (like micro
   FIG. 7 illustrates the photographic image of the building phone, e.g.) that are part of the communication device but not
structure with the temperature indication prepared for trans required for functions of the current invention, are not shown
mitting via the communication link                                 for clarity.
   FIG. 8 shows an image of the Subject Superimposed on a             FIG. 2 shows two sensors: the IR sensor 15 and the photo
multi-pixel IR sensor fields of view.                           60 imaging digital sensor 16 positioned on the circuit board 14
   FIG. 9 is a simplified block-diagram of the cellphone with inside the phone housing 13. Note that the IR lens 7 is situated
IR sensor.                                                         substantially flash with the surface of the housing 13. As a
   FIG. 10 depicts an algorithm for the digital image process rule, the angle of view 18 of the imaging sensor 16 is much
ing and landmark recognition.                                      wider than the angle of view 17 of the IR sensor 15. Thus the
   FIG. 11 shows a target on the image of the subject.          65 field of view 70 of the IR sensor 15 is much smaller than the
   FIG. 12 illustrates a block-diagram of the EMF detecting field of view 71 of the imaging sensor 16. The smaller field of
module.                                                            view 70 is part of the larger field of view 71. For example, the
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angle of view 18 may be in the range of 90°, while the angle            FIG. 4-B illustrates an image taken too close to the skin.
of view 17 is between 0 and 15°.                                     While a very short distance under ideal conditions would not
    FIG.3 illustrates a cross-sectional view of an IR sensor 15.     result in the increased measurement error, there is a possibil
It incorporates a thermopile element 21 positioned inside the ity of touching the skin by the mobile communication device
metal housing 19. A reference temperature sensor 22 moni 5 and thus cooling its Surface. That may cause an excessively
tors temperature of the substrate 20. Note that the angle of low temperature reading. FIG. 4-C shows an image formed
view 17 is controlled by the IR focusing lens 7 that may be from an optimal distance to the skin surface where the IR field
fabricated from silicon or germanium, preferably coated with of view 38 covers substantially the preferred IR spot 24 with
the anti-reflective (AR) coating. The lens 7 focusing proper minimal inclusion of stray elements. The photo image from
ties are achievable either by forming at least one convex 10 the digital image sensor provides the necessary pattern rec
surface or by etching into the lens the Fresnel grooves. An IR ognition features to determine both the optimal location of the
lens 7 is fabricated of a material suitable for operating in the IR field of view 38 on the face image 35 (FIG. 5), and the
mid and far infrared spectral ranges. Suitable materials are correct distance from the IR sensor to the skin. FIG. 5 illus
silicon and germanium. In some embodiments, instead of lens trates the correct size 39 of the eye 36 in the image, while
7, a reflective focusing system may be employed. An example 15 dimensions 40 and 41 designate the distances from the center
is a curved (parabolic) minor. These design options are well of the IR field of view 38 to the eye 36.
known in the art and beyond the scope of this disclosure and Computer-Assisted Aiming of IR Sensor
thus are not discussed herein in detail. The IR (thermal radia          A key component of the present invention is the combined
tion) sensors are also well known in the art (see, for example, use of both the IR and the photo sensors in a manner that
J. Fraden “Handbook of modern sensors'', 4' ed., Springer assures that the IR measuring location is automatically found
Verlag, 2010, incorporated herein as a reference). The skin by the system from the optical images of the Subject’s face.
temperature is computed from signals generated by an IR This assisted guidance is especially beneficial when the user
sensing thermopile element 21 and the ambient reference takes temperature of herself due to her limited ability to
sensor 22.                                                           observe the display 4 (FIG.1), and is accomplished by finding
   While temperature of the human skin differs significantly 25 landmarks on the human face that can be used for automated
from the inner (core) temperature of the human body, there guidance of the IR sensor.
are well known in the art methods for conversion of the skin            Locating features ("landmarks' in our terminology here)
temperature to the inner temperature of the body (e.g. U.S. present in the images of human faces can be accomplished by
Patent publication No. 2007/0282218 issued to Yarden). various methods known in art, e.g.: www.cs.princeton.edu/
Therefore, these methods are not described here.                  30 courses/archive/fall08/cos436/FinalReports/Eye Gesture
    In the preferred embodiment of the present invention,            Recognition.pdf incorporated as a reference herein.
images of the face of the subject oftemperature measurement             Another method that can be used for frontal eye detection
are taken by the communication device's camera as the opera was published in P. Wang, M. B. Green, Q. Ji, and J. Wayman
tor (user) moves the camera towards the object's face and “Automatic Eye Detection and Its Validation.” Computer
across the face. These images can be taken with a pre-defined 35 Vision and Pattern Recognition Workshop, 2005, CVPR
frequency, e.g., 5 frames a second or 10 frames a second or Workshops, IEEE Computer Society, Conference on, Vol. 03,
any other frequency that insures that at least one image is 23-25 Jun. 2005, pp 164-172.
obtained when the embedded infrared sensor is within 2-10               Here we describe the template matching or cross-correla
cm distance from the temple or forehead. A conventional IR tion method of recognition as follows.
sensor contains a single sensitive pixel (thermopile 21 in FIG. 40 The color images from a digital camera are suitably pre
3) that collects IR signal from the surface whose optical processed to provide binary (bitonal, black and white) images
image is formed by the multi-pixel photographic sensor 16.           that allow a faster execution time of the Subsequent algo
   The present invention teaches how to achieve aiming of the rithms. FIG. 10 illustrates a basic flowchart of a recognition
IR temperature sensor at a correct location on the Surface of algorithm for landmarks such as eyebrows or eyelids. In the
the object together with an optimal distance between the 45 image pre-processing step, the image is first run through an
sensor and the surface of the object at which the temperature edge detector Such as Canny edge detector (Canny J., “Find
should be taken. This can be accomplished by two methods ing Edges and Lines in Images', MIT AI Laboratory Techni
that are described in detail below. One method is based on           cal Report, 720, June, 1983 incorporated here as a reference),
automated, computer assisted, guidance of the user aiming resulting in a binary image. (FIG. 10, step 53). Once this
the IR temperature sensor and the other method is based on a 50 pre-processed image is obtained, the system searches for
manual guidance.                                                     certain landmarks in this image. In the frontal image of the
    FIG. 4 shows the subjects face with the preferred IR spot subject’s face, these landmarks could be certain facial fea
24 being located near the eye 23.                                    tures such as the eyebrows, the iris with the pupil of both eyes,
   This spot 24 is the area of the skin from which the IR signal or the eyelids of the subject. In the profile image, the eyelids,
should be collected for better accuracy of measurement. The 55 the iris with the pupil and the eyebrows are sought for one eye.
eye 23 has a distinct shape and its size varies only slightly over In the case of a profile image of the face, only a partial view
the human population. Thus, optical images of facial features of facial features is available the fact that suits the template
Such as eyes 23 can serve as “landmarks' that can guide the matching approach.
feedback system to help in correctly aiming the IR lens 7               While the template matching approach can utilize various
toward the preferred location on the skin surface. The image 60 templates, there are computational advantages in using the
processing of the face image allows the measurements taken templates of elliptical shape as described in D. A. Pintsov,
at the optimal range of distances from the skin. FIG. 4-A Invariant pattern recognition, symmetry and Radon trans
shows an image of a human face taken from too large a forms, J. of Opt. Soc. of America, A, 1989, Vol. 6, No. 10, pp.
distance for accurate measurement of the temperature due to          1544-1554, incorporated as a reference herein.
interferences from the stray elements such as hair, clothing, 65 The described facial landmarks can be approximated by
decorations, etc. which enter the field of view 38 of the IR         elliptical templates with variable major and minor axes since
SSO.                                                                 these landmarks have the shapes of partial ellipses. The
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ranges of axes lengths are found from the size of the corre          ture is computed and shown on display 4, or spoken via the
sponding facial features and the resolution of the camera FIG.       speaker 11 (FIG. 1), or transmitted by the wireless commu
10, Step 55. The use of elliptic templates of elastic shape (see     nication module 29 (FIG.9).
D. A. Pintsov, as above) is illustrated in FIG. 10, step 57.            In another embodiment of the present invention, a more
   The template matching via cross-correlation with an ellip         complex multi-pixel IR sensor can be employed instead of a
tic template with axes of varying sizes locates the partial          single-pixel IR sensor. In this case, the thermopile 21 (FIG.3)
eyebrows and the contour of the eye (upper and lower eyelids)        can be divided into a plurality of areas (IR pixels) that will
as depicted in FIG. 10, step 57, since coordinates of these          form separate images from adjacent locations on the mea
landmarks are local maxima of the cross-correlation function         sured surface. FIG. 8 illustrates a multi-pixel IR image with
                                                                  10 the individual pixels 42 (total 12 in this example) that are
(see D. A. Pintsov, as above). As observed above, the param Superimposed onto the image of the Subject's face. After the
eters of this template (major and minor axes) are restricted to landmark        (an eye 36, e.g.) is identified automatically, the best
the admissible range of sizes commensurate with the range of IR pixels 43
sizes of the corresponding facial features. Depending on the perature. Thewill          be used for measuring and computing tem
                                                                                     best here means located at an optimal for tem
power of the microprocessor employed in the communication 15 perature measurement              portion of the head. Other spurious
device, it is desirable to locate more than one feature (both the pixels 37 that are either at a wrong location or containing
eyebrow and the contour of the eye). If the values of the local obstructions, such as an eyebrow or part of nose, are excluded
maxima exceed the predetermined thresholds that reflect the from computation.
minimal acceptable number of pixels lying on the eyebrows               In case when temperature is taken from a portion of a
and the visible contour of the eye, the system accepts the human body, e.g. a head, the inner body temperature can be
found features (leading to step 63 in FIG. 10), otherwise the computed from the skin temperature by employing one of
landmarks are not found and the input image of the face is known in the art methods.
rejected (FIG. 10, step 61). Finally, as in step 63, FIG. 10, the       Manual Aiming of IR Sensor
calculated positions of the eyebrow and the eyelids must be             When the display of the mobile device is visible by the
consistent since the eyebrow must be located above the eye, 25 operator measuring the temperature (the user), which is the
which the system verifies.                                           case when the operator takes the temperature of another Sub
   Partial ellipses 60 and 50 found by the template matching ject rather than of herself, the following embodiment of the
algorithm are shown in FIG. 5 superimposed on the actual present invention is advantageous for ease of implementation.
contours of the eyebrow 37 and the eye 36, respectively. Use 30 The device's display has a designated area that is demarcated
of more than one ellipse increases reliability of the recogni by         a special graphical element. This element is a circular or
                                                                     rectangular target 74 illustrated in FIG. 11. Other shapes may
tion.
   Since the average dimensions of these facial features are be         employed. The target 74 substantially coincides with the
known together with the parameters of the camera lens of the aimssensor's
                                                                     IR
                                                                           the
                                                                                  field of view 70 (FIG. 2). The operator manually
                                                                               device  at the object (e.g. at the head 73). When the
mobile device (resolution, focal length, etc.) the size of the 35 target 74 is Superimposed      on the area of an object selected for
detected facial features permits finding the optimal distance temperature measurement and the target 74 approximately
to the object for a more accurate temperature measurement. encompasses an outline of the selected area, the IR sensor in
When the detected feature size is smaller than the appropriate terms of a location and distance is properly positioned for
size of the image of a facial feature under known camera taking the temperature measurement. The net result is the
resolution, the distance is too large. Similarly, when the fea 40 same as with the computer-assisted method of aiming the IR
ture is larger than expected with the known camera resolution, lens at the optimal position38 (FIG.5) of the IR field of view,
the distance is too short. When the detected and the expected for example, on the Subject temple.
sizes are substantially the same, the distance is nearly opti           Yet another feature of the present invention lies in the
mal.                                                                 ability of the microprocessor to record and store the tempera
   Another feature of the present invention is its ability of 45 ture measurements over a desired period of time and transmit
measuring the Surface temperature of inanimate objects. via communication abilities of the device any desired data to
Examples of Such objects are the building structures and a medical facility or personnel. This assembly of data can be
machinery having non-reflective Surfaces in the IR spectral plotted on the display in form of a time chart. If the commu
range of 5-15 micrometers. FIG. 6 illustrates a building door nication device is equipped with a Global Positioning System
where the IR field of view 33 is superimposed on the area of 50 (GPS) another advantage the present invention derives from
interest whose temperature is to be measured. The resulting using this GPS is locating the nearest to the user pharmacy
photo image can be combined with the computed temperature and directing the user to this pharmacy to obtain the necessary
34 (FIG. 7) for wireless transmission over the communication drug if the temperature level warrants such an action, that is
line to a remote location. The methods for calculating tem when the measured temperature exceeds a pre-defined thresh
peratures of human body and of non-metallic Surfaces of 55 old stored in the computational means.
inanimate objects are different and well known in the art and           UV Monitoring
thus can be employed in the corresponding operating modes               A personal UV monitor may be useful for managing expo
of the device. To Switch between the human and non-human             Sure to Sun, for example for beach goers. For the purpose of
operating modes, a keyboard 5 can be used.                           monitoring levels of the UV radiation, a separate sensorsen
   Once the aim of the IR sensor (the calculated position of the 60 sitive in the range can be installed into the mobile communi
sensor) is determined, Voice or image guidance from the cation device, however, its location with respect to the pho
device's output components (a speaker and/or display) assists tographic camera is not as critical as for the IR sensor. It is
the user in positioning the device for taking accurate tempera important that the sensors window can be exposed to the
ture measurements. This assistance instructs the user how to          outside. This window should be fabricated from a material
move the mobile communication device: closer, further, left, 65 Substantially transparent in the UV spectral range. Examples
right, up, down, etc. When the correct location is detected, a        of the window materials are compressed inorganic salts of
temperature reading is automatically taken, Surface tempera           alkaline earth metals, such as KBr. The UV sensor in effect is
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a photo-detector whose sensitivity in enhanced in the UV known. However, the invention itself should only be defined
region. A signal received from the UV sensor should be by the appended claims, wherein we claim:
digitized, its magnitude computed and integrated over a pre
determined time by the microprocessor 26. This allows moni         The invention claimed is:
toring a cumulative effect of the Sun exposure. A continuous       1. A mobile communication device comprising a compu
integration however my not be practical when the UV sensor tational means and output means, further comprising a mod
is incorporated with a mobile communication device that is ule incorporating a non-contact temperature sensor for
not exposed to Sun over the same period as the user. In other receiving    from an external Surface electromagnetic radiation
words, the cell phone is not laying under the Sun while the 10 sensor generatesspectral
                                                                in the infrared
                                                                                    a
                                                                                           range. Such non-contact temperature
                                                                                      signal.
user is Sunbathing. This can be resolved by taking several         2. The mobile communication device of claim 1 further
samples of the Sun UV radiation, for example, at the begin comprising
ning, middle and end of exposure. Then the computational           a digital photographic camera for generating a digital
means (microprocessor 26) can interpolate the UV levels               image of the external Surface, and
between the sample points (and can even extrapolate beyond 15 a signal      conditioner connected to the non-contact tempera
a specific point) and compute an estimated integral level of          ture sensor for receiving and conditioning said signal,
the UV exposure. An alarm may be activated when the cumu              wherein the computational means is connected to the
lative level of exposure reaches a pre-determined threshold           signal conditioner and adapted for calculating tempera
stored in the computational means. The instantaneous                  ture of the externals surface from the signal generated by
samples of the UV radiation may be used by a computational            the non-contact temperature sensor.
means for Suggesting a Sufficient grade of the UV protection       3. The mobile communication device of claim 2, wherein
lotion.                                                         the computational means is further adapted for calculating an
   EMF Pollution Monitoring                                     optimal distance between the module and the external surface
   Another important function of a mobile communication by using the digital image generated by said digital photo
device that can be accomplished according to the present 25 graphic camera.
invention is detection of ambient EMF intensity in the low         4. The mobile communication device of claim 2, wherein
frequency (LF) and radio frequency (RF) ranges. This the computational means stores a pre-defined template, said
embodiment takes advantage of the antenna that is always computational means is adapted for matching the digital
present in the mobile device. The antenna serves as a sensor of image with the template for calculating a distance between
the EMF radiation when not used for communication. FIG.9 30 the module and the external surface.
shows the following components used for detecting EMF: the         5. The mobile communication device of claim 4, where
antenna switch 81 and the EMF power measurement module said template has a shape of a facial landmark, such landmark
82, both being controlled by the microprocessor 26 which is being an eyebrow, or nose, or contour of an eye, or ear.
a computational means. When the mobile communication                6. The mobile communication device of claim 1, wherein
device is not in a signal transmission state and antenna 30 35 said external Surface is part of a head of a human.
doesn’t radiate, it can be used for a broadband reception of       7. The mobile communication device of claim 6, wherein
external LF and RF EMF signals. On command from micro the computational means is adapted for converting the Surface
processor 26, Switch 81 directs receiving EMF signals to the temperature of the part of the head of a human into the inner
power measurement module 82 that feeds microprocessor 26 temperature of the human.
with a digital signal representing the EMF magnitude in 40 8. A mobile communication device comprising a compu
vicinity of antenna 30. The microprocessor compares the tational means and output means, further comprising:
magnitude with a pre-determined threshold and if the mag           a module for receiving and measuring a magnitude of
nitude exceeds such a threshold, an alarm is optionally gen            electromagnetic radiation, wherein said electromag
erated by an output device. Examples of such a device are the          netic radiation is generated by a source that is not being
speaker 11 and vibrator 80. A visual display (monitor 12) can 45       part of the mobile communication device, and Such
show a numerical value of the EMF magnitude. FIG. 12                   module comprising at least one antenna adapted for
illustrates structure of the power measurement module 82 that          operation in the radio frequency range.
receives RF signal from antenna via the switch 81. This signal     9. A method of measuring the magnitude of electromag
is generally very weak and may have shape either of continu netic radiation in a selected location by a mobile communi
ous or pulsed noise-like Voltage 87, or, alternatively a more 50 cation device, consisting of the steps of
specific shape, like a 60 Hz sine wave, e.g. Amplifier 83          providing a mobile communication device that comprises a
brings the received signal to a higher level 88 suitable for           housing, a digital imaging sensor having a first field of
filtering and rectification by a signal conditioner 84. The            view, Such sensor is for generating a digital image of the
analog signal 89 is fed to the analog-to-digital converter 85          Selected location, a computational means, and an output
that outputs digital stream 86 for further processing by the 55        means for conveying information to an operator,
microprocessor 26.                                                 incorporating into the housing a module that is responsive
   While the present invention has been illustrated by a               to intensity of the electromagnetic radiation in a selected
description of various preferred embodiments and while                 spectral range;
these embodiments have been described in some detail, it is        positioning the housing in a vicinity of the selected loca
not the intention of the Applicants to restrict or in any way 60       tion;
limit the scope of the appended claims to such detail. Addi        generating by the module a signal representative of the
tional advantages and modifications will readily appear to             electromagnetic radiation;
those skilled in the art. The various features of the invention    processing said signal to extract information related to
may be used alone or in numerous combinations depending                intensity of the electromagnetic radiation in the selected
on the needs and preferences of the user. This has been a 65           location, and
description of the present invention, along with the preferred      sending said information to the output means for convey
methods of practicing the present invention as currently               ing the information to the operator.
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                                                     US 8,275,413 B1
                            11                                                                     12
  10. The method of measuring the magnitude of electro              positioning in the housing the digital imaging sensor and
magnetic radiation of claim 9 comprising a further step of             electromagnetic radiation detectorina mutual proximity
  positioning in the module at least one thermopile having a           and alignment;
      second field of view wherein said first field of view is      aiming by an operator the digital imaging sensor and elec
     wider than the second field of view and said thermopile s         tromagnetic radiation detector at the object;
     generates a signal representative of temperature of the        generating by the digital imaging sensor a first signal rep
      selected location within the second field of view.               resentative of an image of the object;
   11. The method of measuring the magnitude of electro             generating   by the electromagnetic radiation detector a sec
magnetic radiation of claim 10 further comprising the steps of         ond  signal  representative of Surface temperature of the
   moving said housing to aim the digital imaging sensor at 10         object  within   the field of view:
     the selected location and observing on the output means        computing    the  Surface   temperature of the object from the
     the digital image of the selected location, wherein Such          said second    signal,  and
      Selected location has a geometrical feature;                  sending the computed temperature to said output means.
   storing in the computational means a pre-defined template         14. The method of computing temperature by a mobile
     being a desired outline of the geometrical feature;       15 communication device of claim 13, further comprising the
   Superimposing a template with the digital image of the steps of
     geometrical feature;                                           generating by the computational means a template
   indicating by the output means the moment when the tem              approximating the shape of a landmark, Such landmark
     plate and the image of the geometrical features are Sub           being an identifiable part of the object;
      stantially Superimposed, and                                  identifying and locating said landmark by said computa
   computing temperature information from said signal. Such            tional means;
     temperature being the information related to intensity of      comparing     the sizes and positions of said landmark and
     the electromagnetic radiation.                                    said template;
   12. The method of measuring intensity of electromagnetic         generating by the output means a feedback signal to the
radiation of claim 10, further comprising the steps of                 operator,
   identifying and locating by said computational means a 25 moving          said housing for matching the sizes and positions
     landmark from said geometrical features within the first          of said  landmark and said template.
     field of view, Such landmark having salient geometrical         15. The  method     of computing temperature by a mobile
     features of the selected location;                           communication      device   of claim 13, further comprising the
   comparing by the computational means the size and posi 30 steps of
     tion of said landmark with a reference outline of the
     landmark stored in the computational means;                    displaying by the output means an image of the object
   generating by the output means a feedback signal to the             derived by the computational means from said first sig
     operator for moving the housing to a position where the           nal;
     landmark and the reference outline are substantially of 35     displaying   a target. Such target being an outline of the filed
     the same size and Substantially at the same position;             of view:
   computing temperature from said signal.                          moving the housing to Superimpose the target and the
   13. A method of computing temperature from electromag               selected portion of the object.
                                                                     16. The method of computing temperature by a mobile
netic radiation being naturally emanated from a selected por communication
tion of an object by a mobile communication device, com 40 step of convertingdevice    the
                                                                                              of claim 13, further comprising the
                                                                                            Surface  temperature of the object into
prising the steps of                                              the inner temperature    of  the object.
   providing a mobile communication device comprising a              17. The method of computing temperature by a mobile
     housing, a digital imaging sensor, a computational
     means, and an output means for conveying information step of generatingdevice
                                                                  communication
                                                                                        an
                                                                                              of claim 13, further comprising the
                                                                                           alarm   when temperature of the object
     to an operator;
   positioning in the housing an electromagnetic radiation 45 exceeds a preset limit.
     detector operating in an infrared thermal spectral range
     and having a field of view:
